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 6
                                  UNITED STATES DISTRICT COURT
 7
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9    MARIA ELENA LOPEZ, an individual, on                    CASE NO.
      behalf of herself, the general public and those
10    similarly situated,                                     UNLIMITED CIVIL CASE

11      Plaintiff,                                            CLASS ACTION COMPLAINT
12
                     v.                                       JURY TRIAL DEMANDED
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      WATER WIPES (USA), INC.,
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        Defendant.
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 1          Plaintiff Maria Elena Lopez, by and through her counsel, bring this Class Action

 2   Complaint (“Complaint” or “Class Action Complaint”) against Defendant Water Wipes (USA),

 3   Inc., on behalf of herself, those similarly situated, and the general public. The following

 4   allegations are based upon information and belief, including the investigation of Plaintiff’s

 5   counsel, unless stated otherwise.

 6                                           INTRODUCTION

 7          1.      Defendant deceptively advertises and markets its “Water Wipes” brand wipes as

 8   “100% biodegradable.” Defendant informs consumers to “dispose of wipes as per local

 9   guidelines.” Further, it claims on the back of the product packaging that the Water Wipes will

10   “biodegrade[] in 4 weeks.” Defendant charges a premium for these wipes, as compared to other

11   wipes that are not marketed as “100% biodegradable.” Despite the unqualified biodegradable

12   claim on the label, however, the wipes will not completely break down and return to nature within

13   a reasonably short period of time (let alone 4 weeks) after customary disposal in landfills.

14   Degradation of any material occurs very slowly in landfills, where most garbage is taken. This is

15   because landfills are an anaerobic environment and are designed to keep sunlight, air and

16   moisture out. This helps prevent pollutants from the garbage from entering the air and drinking

17   water, but also slows decomposition. Even materials like paper and food take decades to

18   decompose in a landfill.

19          2.      Reasonable consumers would not pay a premium to obtain the benefits of a “100%

20   biodegradable” wipe if Defendant disclosed that the wipes will not completely break down within

21   a reasonably short period of time after ordinary disposal in a landfill.

22          3.      This action seeks: (i) to require Defendant to pay restitution and damages to

23   purchasers of the Water Wipes of the price premium paid for the wipes, i.e., the difference

24   between the price consumers paid for the wipes and the price that they would have paid but for

25   Defendant’s misrepresentation, in an amount to be proven at trial using econometric or

26   statistical techniques, such as hedonic regression or conjoint analysis; and (ii) an injunction

27   precluding the sale of the wipes within a reasonable time after entry of judgment, unless the

28   wipes’ packaging and marketing is modified to remove the “100% biodegradable” and

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 1   “biodegrades in 4 weeks” misrepresentations.

 2                                                 PARTIES

 3          4.      Plaintiff Maria Elena Lopez (“Plaintiff”) is, and at all times alleged in this Class

 4   Action Complaint was, and individual and resident of Antioch, CA. She makes her permanent

 5   home in California and intends to remain in California.

 6          5.      Defendant Water Wipes (USA), Inc. (“Defendant”) is a corporation organized and

 7   existing under the laws of the State of North Carolina, having its principal place of business in

 8   Portsmouth, New Hampshire.

 9                                     JURISDICTION AND VENUE

10          6.      This Court has jurisdiction over the subject matter of this action pursuant to 28

11   U.S.C. § 1332(d)(2). The aggregate amount in controversy exceeds $5,000,000, exclusive of

12   interest and costs; and Plaintiff and Defendant are citizens of different states.

13          7.      The injuries, damages and/or harm upon which this action is based, occurred or

14   arose out of activities engaged in by Defendant within, affecting, and emanating from, the State

15   of California. Defendant regularly conducts and/or solicits business in, engages in other persistent

16   courses of conduct in, and/or derive substantial revenue from products provided to persons in the

17   State of California. Defendant has engaged, and continues to engage, in substantial and

18   continuous business practices in the State of California.

19          8.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

20   substantial part of the events or omissions giving rise to the claims occurred in the state of

21   California, including within this District.

22          9.      In accordance with California Civil Code Section 1780(c), Plaintiff concurrently

23   files herewith a declaration, attached as Exhibit A, establishing that, in or around September

24   2022, she purchased Water Wipes baby wipes at a Walmart in Antioch, California.

25          10.     Plaintiff accordingly alleges that jurisdiction and venue are proper in this Court.

26                                   SUBSTANTIVE ALLEGATIONS

27   A.     Defendant Markets and Sells Water Wipes Labeled as “100% Biodegradable”

28          11.     Defendant manufacture and market Water Wipes brand baby wipes and adult

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 1   sensitive wipes (collectively, the “Water Wipes” or the “Products”). Water Wipes are available

 2   for purchase in supermarkets, drug stores, and other retailers, such as Walmart, Target, King

 3   Soopers, Safeway, Walgreens, and Kroger. Defendant also sell the Water Wipes on online

 4   retailers’ websites such as Amazon.com, Walmart.com, Vitacost.com, and BuyBuyBaby.com.

 5          12.     Since on or around March or April 2022, Defendant has prominently claimed on

 6   the front of the Water Wipes product packages that they are “100% biodegradable.” The claim

 7   appears inside a green leaf. For example, as shown in the photo below depicting the front of a

 8   540-count pack of Water Wipes, Defendant claims that the product is “100% biodegradable:”

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20          13.     Additionally, since on or around March or April 2022, Defendant further misled

21   consumers by claiming on the back of the Product package that the Water Wipes are “Made from

22   100% plant fibres, biodegrades in 4 weeks.”

23          14.     Nowhere on any of the Product packages, at any point during the class period, has

24   Defendant disclosed that the Water Wipes will not completely break down and return to nature

25   within a reasonably short period of time after customary disposal in a garbage can. In particular,

26   the Product packages do not include any disclosures as to (1) the type of non-customary disposal

27   facility or method required for biodegradability, and/or (2) the availability of such disposal

28   facility or method to consumers where the Products are marketed or sold. On the contrary,

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 1   Defendant informs consumers to “Please dispose of wipes as per local guidelines.”

 2          15.      Defendant intends for consumers to understand that the Water Wipes are

 3   biodegradable products, i.e., ones that are specially designed to completely break down and return

 4   to nature within a reasonably short period of time, after any customary disposal. In marketing the

 5   Water Wipes, Defendant made only unqualified “100% Biodegradable” claims and has never

 6   advised consumers that the wipes may not completely break down if disposed of in the trash. In

 7   other words, Defendant sells the Products as ones that are specially designed to break down and

 8   return to nature within a reasonably short period of time (i.e., 4 weeks) after any disposal, and not

 9   as a product intended to break down partially or only under certain specified circumstances or

10   environments.

11          16.      In addition to making the misrepresentation on the Product package, Defendant’s

12   misrepresentations appear in their advertising for the Water Wipes too. For example, Defendant

13   advertises the Water Wipes on its website where it falsely informs consumers that the Water

14   Wipes are “100% BIODEGRADABLE.” An example of Defendant’s website advertising is

15   shown below:

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             17.     Defendant has similar advertisements emphasizing that the Product is “100%
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     Biodegradable” on its social media channels, such as Instagram and Facebook. For example,
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     Defendant posted the following advertisement on its Facebook account on or about April 28,
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22   2022:
23           18.     Defendant does not disclose qualify the “100% Biodegradable” claim on their
24   website or in their social media advertising and Defendant does not disclose that the Water Wipes
25   will not completely break down and return to nature within a reasonably short period of time
26   (let alone 4 weeks) after disposal in landfills.
27           19.     In marketing the Water Wipes to consumers, Defendant know that consumers will
28   be more likely to purchase the Products if they believe that the wipes are “kinder to the
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 1   environment,” a greener choice, and that the wipes will completely break down and return to

 2   nature within a reasonably short period of time after customary disposal. Thus, Defendant intends

 3   for consumers to rely on the representations that the Water Wipes are “100% biodegradable.”

 4   Defendant further intends for consumers to rely on the omissions that the Water Wipes will not

 5   completely break down and return to nature within a reasonably short period of time after

 6   disposal in landfills.

 7           20.     Further, in marketing the Water Wipes as “100% Biodegradable,” Defendant

 8   knows that consumers in the United States care about the impact of their purchasing and

 9   consuming habits on the environment. As a result, many consumers demand products that are

10   environmentally superior to similar products, in that these superior products cause less harm to

11   the environment. The term “green” is commonly used to describe these products, and the

12   environmental movement that led to them. Factors important in determining that a product is

13   environmentally superior to a similar product include the adverse impact to the environment

14   caused by the manufacturing, use, and disposal of a product.

15           21.     By making the claims that the Water Wipes are “100% Biodegradable” and that

16   they biodegrade within 4 weeks, Defendant positions the Water Wipes as environmentally

17   superior to its competitors’ products that do not contain the same representations. Defendant

18   intends for consumers to understand that the Water Wipes are specially designed to be

19   environmentally friendly (i.e., a “green” product) because they are “100 % biodegradable” and

20   have consistently marketed the Products in that manner (both on the labeling and in advertising)

21   since March or April 2022. Defendant intends for consumers to understand that because the

22   Water Wipes are biodegradable, they will not harm the environment when the consumer disposes

23   of them in the customary manner.

24           22.     Because consumers are led to believe the Products are“100% biodegradable,” and

25   therefore purchase them because they are a convenient green or environmentally-friendly product,

26   Defendant are able to charge a premium for the them. For example, Water Wipes cost more per

27   wipe (7 cents per wipe) than a comparable package of wet wipes (such as Up & Up Fragrance

28   Free Baby Wipes, which cost only 2 cents per wipe), which are not advertised as “100%

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 1   biodegradable” at the retail store Target. If consumers knew that the Water Wipes were not

 2   “100% biodegradable” and did not biodegrade within 4 weeks as claimed, the Product would not

 3   command a premium price based on that representation, and they would not pay the premium

 4   attributable to that representation. Consumers would opt to purchase cheaper products that do not

 5   claim to be biodegradable.

 6   B.     Defendant’s Marketing Misleads Consumers Because the Wipes Are Not 100%
            Biodegradable.
 7
            1.      “100% Biodegradable” Means the Product Will “Completely Decompose Into
 8                  Elements Found in Nature Within a Reasonably Short Period of Time After
                    Disposal” in Landfills
 9
            23.     Reasonable consumers understand the unqualified “100% biodegradable” claim to
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     mean that the entire wipe will completely break down or decompose into elements found in
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     nature within a reasonably short period of time after customary disposal, regardless of where it is
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     disposed. Indeed, Defendant represents elsewhere on the Product packaging that the wipes are
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     “Made from 100% plant fibres, biodegrades in 4 weeks” and “Please dispose of wipes as per local
14
     guidelines.”
15
            24.     Further, the Federal Trade Commission (“FTC”) has defined “biodegradable” in its
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     standards, commonly known as the “Green Guides,” which describe what constitutes deceptive
17
     and misleading environmental claims. The Green Guides have been independently adopted as part
18
     of the Environmental Marketing Claims Act, Cal. Bus. & Prof. Code § 17580, et seq. See Cal.
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     Bus. & Prof. Code § 17580.5 (adopting FTC Green Guides).
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            25.     Section 260.8(d) of the Green Guides specifies that use of the claim
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     “biodegradable” should be substantiated by “competent and reliable scientific evidence that the
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     entire item will completely break down and return to nature (i.e., decompose into elements found
23
     in nature) within a reasonably short period of time after customary disposal.” 16 C.F.R. § 260.8
24
     (b) (emphasis supplied). The Green Guides advise marketers that to make unqualified
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     biodegradable claims, they must have scientific evidence that their product will completely
26
     decompose within a reasonably short period of time under customary methods of disposal.1
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     1
28    See https://www.ftc.gov/news-events/press-releases/2009/08/ftc-settlement-bars-sellers-
     deceptive-biodegradable-claims (last accessed October 28, 2022).
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 1           26.       In other words, the Green Guides recognize that consumers understand an

 2   unqualified biodegradable claim means that the product will biodegrade when disposed of in

 3   landfills. See, e.g.

 4   https://www.ftc.gov/system/files/documents/cases/140502americanplasticsdo.pdf (last accessed

 5   October 28, 2022) (“For unqualified biodegradability claims, any scientific technical protocol (or

 6   combination of protocols) substantiating such claims must assure complete decomposition within

 7   one year and replicate, i.e., simulate, the physical conditions found in landfills, where most trash

 8   is disposed.”).

 9           2.        Water Wipes Will Not Completely Decompose Into Elements Found in
                       Nature Within a Reasonably Short Period of Time After Customary Disposal
10
             27.       As the Water Wipes are intended for consumers to use in their baby’s bathroom
11
     and hygiene routines, the customary method of disposal of the Water Wipes is in the trash,
12
     typically wrapped in a soiled diaper, which in turn, is either landfilled or incinerated.
13
     Approximately 92 percent of total municipal solid waste in the United States is disposed of either
14
     in landfills, incinerators, or recycling facilities. Consumers do not customarily dispose of baby
15
     wipes in composting bins for treatment by a municipal composting facility. There are
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     approximately 5,000 municipal composting facilities in the United States, so most consumers
17
     would not have access to such a facility. Even in the cities where municipal composting is
18
     available, a majority of those facilities are limited to the disposal of yard waste. Thus, for even
19
     the very small number of consumers who have access to municipal composting facilities,
20
     municipal ordinances forbid the disposal of human waste in such facilities.
21
             28.       For the Water Wipes that are trashed, they will not biodegrade. Materials
22
     “biodegrade” when they are broken down by other living organisms (such as fungi, bacteria, or
23
     other microbes) into their constituent parts. The process can occur aerobically (with the aid of
24
     oxygen) or anaerobically (without oxygen). Substances break down much faster under aerobic
25
     conditions, as oxygen helps break the molecules apart, a process called oxidation. Landfills are
26
     anaerobic because they are compacted so tightly, and thus do not let much air in. Uncontrolled
27
     biodegradation in a landfill can cause ground water pollution, methane gas emissions, and
28
     unstable sub-soil conditions. As a result, modern landfills are designed to keep sunlight, air and
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 1   moisture out to prevent pollutants from the garbage from entering the air and drinking water and

 2   to prevent biodegradation. Even materials like paper and food take decades to decompose in a

 3   landfill.

 4           29.      As such, any biodegradation in a landfill that does take place does so very slowly

 5   (over the span of decades). Thus, when disposed of in the trash, Water Wipes will not completely

 6   break down and return to nature (i.e., decompose into elements found in nature) within a

 7   reasonably short period of time because landfills do not present conditions necessary for

 8   biodegradation.

 9           30.      The scientific tests Defendant relied upon to support its biodegradable claims do

10   not replicate, i.e., simulate, the physical conditions of either landfills, where most trash is

11   disposed, or other disposal facilities stated in the representations

12           31.      Whether the Water Wipes will biodegrade and how long it takes to do so are not

13   matters that consumers can reasonably verify on their own.

14               3.   Defendant’s Marketing of the Water Wipes Violates Several Provisions of the
                      FTC’s Green Guides
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             32.      Section 260.3(b) of the Green Guides requires an environmental marketing claim
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     to “specify whether it refers to the product, the product’s packaging, a service, or just to a portion
17
     of the product, package, or service.” 16 C.F.R. § 260.3(b). Defendant’s “100% biodegradable”
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     claim on the Products violates this standard of the Green Guides because it fails to specify
19
     whether it refers to wipes, the wipes’ packaging, or just part of the wipes (i.e., the substrate).
20
             33.      Section 260.3(c) of the Green Guides prohibits an environmental marketing claim
21
     from “overstat[ing], directly or by implication, an environmental attribute or benefit. Marketers
22
     should not state or imply environmental benefits if the benefits are negligible.” 16 C.F.R. §
23
     260.3(c). Defendant’s unqualified “100% biodegradable” representation on the Products violates
24
     this standard of the Green Guides because it overstates an environmental attribute because the
25
     Water Wipes’ will not completely break down and return to nature (i.e., decompose into elements
26
     found in nature) within a reasonably short period of time (let alone 4 weeks as claimed) after
27
     customary disposal via a landfill.
28
             34.      Section 260.8(c) of the Green Guides specifies that for products customarily
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 1   disposed of in landfills, unqualified biodegradability claims are deceptive because landfills “do

 2   not present conditions in which complete degradation will occur within one year.” 16 C.F.R. §

 3   260.8(c). The FTC has confirmed that “it is impossible for these products to biodegrade within a

 4   reasonably short time” when they are disposed of in landfills, incinerators, or recycling facilities.2

 5   For example, in the matter of Down to Earth Designs, Inc., Docket No. C-4443, the FTC

 6   challenged the labeling of baby wipes as “100% biodegradable.”3 The FTC explained that

 7   “[l]andfills, incinerators, and recycling facilities do not present conditions for biodegradation or

 8   composting within a reasonably short period of time.” Id. Further, the FTC explained that because

 9   consumers of the baby wipes dispose of the majority of used wipes by throwing them away in the

10   trash, which leads to their final disposal in a landfill or incinerator, the products were not properly

11   labeled as “100% biodegradable.”

12          35.     Further, in violation of Green Guide Section 260.2 and Cal. Bus. & Prof. Code §

13   17580, Defendant has not and cannot substantiate the complained of misrepresentations. See 16

14   C.F.R. § 260.2 and Cal. Bus. & Prof. Code § 17580.

15          D.      Defendants Have Misled Consumers To Increase Their Profits.

16          36.     Defendant’s labeling and marketing campaign has been extremely successful.

17   Water Wipes is a popular brand, and it is sold in grocery stores and big box stores throughout the

18   country. Because of the big potential for sales, Defendant has no incentive to stop selling

19   “biodegradable” products or to change their packaging or add reasonable disclaimers for fear of

20   discouraging sales.

21                                    PLAINTIFF’S EXPERIENCES

22          37.     On or about September 2022, Plaintiff purchased multiple packages of Water

23   Wipes from Walmart in Antioch, California. Because Defendant had represented that the Water

24   Wipes were “100% biodegradable” and that they would biodegrade within 4 weeks, Plaintiff is

25   pregnant and she made the decision to purchase the Water Wipes to use when her child is born.

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     2
27     https://www.ftc.gov/news-events/press-releases/2009/08/ftc-settlement-bars-sellers-deceptive-
     biodegradable-claims (last accessed October 28, 2022) (emphasis added).
     3
28     https://www.ftc.gov/news-events/press-releases/2009/08/ftc-settlement-bars-sellers-deceptive-
     biodegradable-claims (last accessed October 28, 2022).
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 1   She intended to use the Water Wipes and dispose of them along with soiled diapers in the trash.

 2   Plaintiff later learned that the Water Wipes will not completely break down after disposal in

 3   landfills. Had he known that the wipes were not biodegradable, Plaintiff would not have

 4   purchased the Water Wipes, or at minimum, she would not have paid a premium for them.

 5          38.       Plaintiff continues to desire to purchase baby wipes that are biodegradable from

 6   Defendant. She regularly visits stores where Water Wipes are sold. Without purchasing and

 7   testing the wipes, Plaintiff is unable to determine if they are 100% biodegradable. Plaintiff

 8   understands that the design and construction of the wipes may change over time as Defendant

 9   responds to pressure from legislators, government agencies, competitors, or environmental

10   organizations. But as long as Defendant continues to use the phrase “100% biodegradable” to

11   describe wipes that do not biodegrade, then when presented with Defendant’s packaging, Plaintiff

12   will have no way of determining whether the representation “100% biodegradable” is in fact true.

13   Thus, Plaintiff is likely to be repeatedly presented with false or misleading information when

14   shopping and she is unable to make informed decisions about whether to purchase the wipes.

15   Plaintiff is further likely to be repeatedly misled by Defendant’s conduct, unless and until

16   Defendant is compelled to ensure that its wipes labeled as “100% biodegradable” truly are

17   biodegradable.

18                                         CLASS ALLEGATIONS

19          39.       Plaintiff brings this action against Defendant on behalf of herself and all others

20   similarly situated, as a class action pursuant to Rule 23(b)(2) and (b)(3) of the Federal Rules of

21   Civil Procedure. Plaintiff seeks to represent the following groups of similarly situated persons,

22   defined as follows:

23                All persons who purchased the Water Wipes with a “100% Biodegradable”
                  claim (the “Class”); and
24                All persons who purchased the Water Wipes with a “100% Biodegradable”
25                claim in California (the “Subclass”).
            40.       The Class and the California Subclass are referred to collectively herein as the
26
     “Proposed Classes.”
27
            41.       This action has been brought and may properly be maintained as a class action
28

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 1   against Defendant because there is a well-defined community of interest in the litigation and the

 2   proposed Class and Subclass are easily ascertainable.

 3             42.     Numerosity: Plaintiff does not know the exact size of the Class or Subclass, but it

 4   is estimated that they are each composed of more than 100 persons. The persons in the Class and

 5   Subclass are so numerous that the joinder of all such persons is impracticable and the disposition

 6   of their claims in a class action rather than in individual actions will benefit the parties and the

 7   courts.

 8             43.     Common Questions Predominate: This action involves common questions of law

 9   and fact to the potential class and subclasses because each Class and Subclass member’s claim

10   derives from the deceptive, unlawful and/or unfair statements and omissions that led consumers

11   to believe that the Water Wipes are “100% biodegradable.” The common questions of law and

12   fact predominate over individual questions, as proof of a common or single set of facts will

13   establish the right of each member of the Class and Subclasses to recover. Among the questions

14   of law and fact common to the Class and Subclasses are:

15                     a)    Whether the Water Wipes are “100% biodegradable;”

16                     b)    Where the Water wipes biodegrade within 4 weeks;

17                     c)    Whether Defendant unfairly, unlawfully and/or deceptively failed to inform

18   Class members that the Water Wipes will not completely break down into elements found in

19   nature within a reasonably short period of time (let alone 4 weeks) after customary disposal in

20   landfills;

21                     d)    Whether Defendant’s advertising and marketing regarding the Water Wipes

22   with the unqualified “100% Biodegradable” representation was likely to deceive Class members

23   or was unfair;

24                     e)     Whether Defendant engaged in the alleged conduct knowingly, recklessly,

25   or negligently;

26                     f)    The amount of the premium lost by Class members as a result of such

27   wrongdoing;

28                     g)    Whether Class members are entitled to injunctive and other equitable relief

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 1   and, if so, what is the nature of such relief; and

 2                  h)        Whether Class members are entitled to payment of actual, incidental,

 3   consequential, exemplary and/or statutory damages plus interest thereon, and if so, what is the

 4   nature of such relief.

 5          44.     Typicality: Plaintiff’s claims are typical of the Classes because she purchased

 6   Water Wipes in the last year, in reliance on Defendant’s misrepresentations and omissions that

 7   the Water Wipes are “100% biodegradable.” Thus, Plaintiff and Class members sustained the

 8   same injuries and damages arising out of Defendant’s conduct in violation of the law. The injuries

 9   and damages of each Class member were caused directly by Defendant’s wrongful conduct in

10   violation of law as alleged.

11          45.     Adequacy: Plaintiff will fairly and adequately protect the interests of all Class

12   members because it is in her best interests to prosecute the claims alleged herein to obtain full

13   compensation due to her for the unfair and illegal conduct of which she complains. Plaintiff also

14   has no interests that are in conflict with or antagonistic to the interests of Class members. Plaintiff

15   has retained highly competent and experienced class action attorneys to represent her interests

16   and the interests of the Classes. By prevailing on her own claims, Plaintiff will establish

17   Defendant’s liability to all Class and Subclass members. Plaintiff and her counsel have the

18   necessary financial resources to adequately and vigorously litigate this class action, and Plaintiff

19   and counsel are aware of their fiduciary responsibilities to the Class members and are determined

20   to diligently discharge those duties by vigorously seeking the maximum possible recovery for

21   Class members.

22          46.     Superiority: There is no plain, speedy, or adequate remedy other than by

23   maintenance of this class action. The prosecution of individual remedies by members of the Class

24   will tend to establish inconsistent standards of conduct for Defendant and result in the impairment

25   of Class and Subclass members’ rights and the disposition of their interests through actions to

26   which they were not parties. Class action treatment will permit a large number of similarly

27   situated persons to prosecute their common claims in a single forum simultaneously, efficiently,

28   and without the unnecessary duplication of effort and expense that numerous individual actions

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 1   would engender. Furthermore, as the damages suffered by each individual member of the Classes

 2   may be relatively small, the expenses and burden of individual litigation would make it difficult

 3   or impossible for individual members of the Classes to redress the wrongs done to them, while an

 4   important public interest will be served by addressing the matter as a class action.

 5          47.     Nexus to California. The State of California has a special interest in regulating the

 6   affairs of corporations that do business here. More Water Wipes are purchased in California than

 7   in any other state. Accordingly, there is a substantial nexus between Defendant’s unlawful

 8   behavior and California such that the California courts should take cognizance of this action on

 9   behalf of a Class of individuals who reside anywhere in the United States.

10          48.     Plaintiff is unaware of any difficulties that are likely to be encountered in the

11   management of this action that would preclude its maintenance as a class action.

12                                         CAUSES OF ACTION

13          49.     Plaintiff does not plead, and hereby disclaims, any causes of action under any

14   regulations promulgated by the FTC. Plaintiff relies on these regulations only to the extent such

15   regulations have been separately enacted as state law or regulations or provide a predicate basis of

16   liability under the state and common laws cited in the following causes of action.

17                             PLAINTIFF’S FIRST CAUSE OF ACTION
                                (Fraud, Deceit and/or Misrepresentation)
18                                 On Behalf of Herself and the Class
19          50.     Plaintiff realleges and incorporates by reference the paragraphs of this Class
20   Action Complaint as if set forth herein.
21          51.     In or around September 2022, Defendant fraudulently and deceptively led Plaintiff
22   to believe that Water Wipes were “100% biodegradable” and that they would completely break
23   down into elements found in nature within a reasonably short period of time (i.e., 4 weeks) after
24   disposal in landfills. In or around September 2022, Defendant also failed to inform Plaintiff that
25   the Water Wipes do not completely break down into elements found in nature within a reasonably
26   short period of time (let alone 4 weeks) after disposal in landfills.
27          52.     These misrepresentations and omissions were material at the time they were made.
28   They concerned material facts that were essential to the analysis undertaken by Plaintiff as to

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 1   whether to purchase the Water Wipes.

 2          53.     Defendant made identical misrepresentations and omissions to members of the

 3   Class regarding the Water Wipes.

 4          54.     Plaintiff and those similarly situated relied to their detriment on Defendant’s

 5   fraudulent misrepresentations and omissions. Had Plaintiff and those similarly situated been

 6   adequately informed and not intentionally deceived by Defendant, they would have acted

 7   differently by, without limitation, not purchasing (or paying less for) the Water Wipes.

 8          55.     Defendant had a duty to inform Class members at the time of their purchase that

 9   the Water Wipes will not completely break down into elements found in nature within a

10   reasonably short period of time (let alone 4 weeks) after disposal in landfills. Defendant omitted

11   to provide this information to Class members. Class members relied to their detriment on

12   Defendant’s omissions. These omissions were material to the decisions of the Class members to

13   purchase the Water Wipes. In making these omissions, Defendant breached its duty to Class

14   members. Defendant also gained financially from, and as a result of, its breach.

15          56.     By and through such fraud, deceit, misrepresentations and/or omissions, Defendant

16   intended to induce Plaintiff and those similarly situated to alter their position to their detriment.

17   Specifically, Defendant fraudulently and deceptively induced Plaintiff and those similarly situated

18   to, without limitation, to pay a premium to purchase the Water Wipes.

19          57.     As a direct and proximate result of Defendant’s misrepresentations and omissions,

20   Plaintiff and those similarly situated have suffered damages. In particular, Plaintiff seeks to

21   recover on behalf of herself and those similarly situated the price premium paid for the Water

22   Wipes, i.e., the difference between the price consumers paid for the Water Wipes and the price

23   that they would have paid but for Defendant’s misrepresentation. This premium can be

24   determined by using econometric or statistical techniques such as hedonic regression or conjoint

25   analysis.

26          58.     Defendant’s conduct as described herein was willful and malicious and was

27   designed to maximize Defendant’s profits even though Defendant knew that it would cause loss

28   and harm to Plaintiff and those similarly situated.

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 1                            PLAINTIFF’S SECOND CAUSE OF ACTION
                                    (Negligent Misrepresentation)
 2                                On Behalf of Herself and the Class
 3
             59.     Plaintiff realleges and incorporates by reference the paragraphs of this Class
 4
     Action Complaint as if set forth herein.
 5
             60.     In or around September 2022, Defendant fraudulently and deceptively made
 6
     unqualified “100% Biodegradable” claims on the Product packages and led Plaintiff to believe
 7
 8   that the Water Wipes were 100% biodegradable and that they would completely break down into

 9   elements found in nature within a reasonably short period of time (i.e., 4 weeks) after disposal.
10           61.     These representations were material at the time they were made. They concerned
11
     material facts that were essential to the analysis undertaken by Plaintiff as to whether to purchase
12
     the Water Wipes.
13
             62.     Defendant made identical misrepresentations and omissions to all members of the
14
15   Class regarding the Water Wipes.

16           63.     Defendant should have known the representations to be false and had no

17   reasonable grounds for believing them to be true when they were made.
18           64.     By and through such negligent misrepresentations, Defendant intended to induce
19
     Plaintiff and those similarly situated to alter their position to their detriment. Specifically,
20
     Defendant negligently induced Plaintiff and those similarly situated to, without limitation, to
21
     purchase the Water Wipes.
22
23           65.     Plaintiff and those similarly situated relied to their detriment on Defendant’s

24   negligent misrepresentations. Had Plaintiff and those similarly situated been adequately informed

25   and not intentionally deceived by Defendant, they would have acted differently by, without
26
     limitation, not purchasing (or paying less for) the Water Wipes.
27
             66.     Plaintiff and those similarly situated have suffered damages. In particular, Plaintiff
28

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     seeks to recover on behalf of herself and those similarly situated the price premium paid for the
 1
     Water Wipes, i.e., the difference between the price consumers paid for the Water Wipes and the
 2
 3   price that they would have paid but for Defendant’s misrepresentation. This premium can be

 4   determined by using econometric or statistical techniques such as hedonic regression or conjoint
 5   analysis.
 6                                 PLAINTIFF’S THIRD CAUSE OF ACTION
 7                                          (Unjust Enrichment)
                                       On Behalf of Herself and the Class
 8
             67.     Plaintiff realleges and incorporates the paragraphs of this Class Action Complaint
 9
     as if set forth herein.
10
             68.     Plaintiff and members of the Class conferred a benefit on the Defendant by
11
     purchasing the Products.
12
             69.     Defendant has been unjustly enriched in retaining the revenues from Plaintiff’s and
13
     Class Members’ purchases of the Products, which retention is unjust and inequitable, because
14
     Defendant falsely represented that the Products are “100% biodegradable” and degrade within 4
15
     weeks when, in fact, the Products do not and cannot completely break down into elements found
16
     in nature within a reasonably short period of time (let alone 4 weeks) after customary disposal.
17
     This harmed Plaintiff and members of the Class because they paid a price premium as a result.
18
             70.     Because Defendant’s retention of the non-gratuitous benefit conferred on them by
19
     Plaintiff and Class members is unjust and inequitable, Defendant must pay restitution to Plaintiff
20
     and the Class members for its unjust enrichment, as ordered by the Court. Plaintiff and those
21
     similarly situated have no adequate remedy at law to obtain this relief.
22
             71.      Plaintiff, therefore, seeks an order requiring Defendant to make restitution her and
23
     other members of the Class.
24
                           PLAINTIFF’S FOURTH CAUSE OF ACTION
25      (Violation of the Consumers Legal Remedies Act, California Civil Code § 1750, et seq.)
                           On Behalf of Herself and the California Subclass
26
             72.     Plaintiff realleges and incorporates the paragraphs of this Class Action Complaint
27
     as if set forth herein.
28
             73.     This cause of action is brought pursuant to the California Consumers Legal
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 1   Remedies Act, California Civil Code § 1750, et seq. (“CLRA”).

 2          74.     Defendant’s actions, representations and conduct have violated, and continue to

 3   violate the CLRA, because they extend to transactions that are intended to result, or which have

 4   resulted, in the sale or lease of goods or services to consumers.

 5          75.     Plaintiff and other Subclass members are “consumers” as that term is defined by

 6   the CLRA in California Civil Code § 1761(d).

 7          76.     The Water Wipes that Plaintiff (and other similarly situated Subclass members)

 8   purchased from Defendant were “goods” within the meaning of California Civil Code § 1761(a).

 9          77.     By engaging in the actions, representations and conduct set forth in this Class

10   Action Complaint, Defendant has violated, and continues to violate, § 1770(a)(2), § 1770(a)(5),

11   § 1770(a)(7), § 1770(a)(8), and § 1770(a)(9) of the CLRA. In violation of California Civil Code

12   §1770(a)(2), Defendant’s acts and practices constitute improper representations regarding the

13   source, sponsorship, approval, or certification of the goods it sold. In violation of California Civil

14   Code §1770(a)(5), Defendant’s acts and practices constitute improper representations that the

15   goods it sells have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities,

16   which they do not have. In violation of California Civil Code §1770(a)(7), Defendant’s acts and

17   practices constitute improper representations that the goods it sells are of a particular standard,

18   quality, or grade, when they are of another. In violation of California Civil Code §1770(a)(8),

19   Defendant has disparaged the goods, services, or business of another by false or misleading

20   representation of fact. In violation of California Civil Code §1770(a)(9), Defendant has advertised

21   goods or services with intent not to sell them as advertised. Specifically, in violation of sections

22   1770 (a)(2), (a)(5), (a)(7) and (a)(9), Defendant’s acts and practices led consumers to falsely

23   believe that the Water Wipes were “100% biodegradable,” biodegrade within 4 weeks, and that

24   they would completely break down into elements found in nature within a reasonably short period

25   of time (i.e., 4 weeks) after customary disposal. In violation of section 1770(a)(8), Defendant

26   falsely or deceptively marketed and advertised that, unlike products not specifically denominated

27   as “100% biodegradable,” the Water Wipes will completely break down into elements found in

28   nature within a reasonably short period of time (i.e., 4 weeks) after disposal, when in fact, the

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 1   wipes do not biodegrade after ordinary disposal.

 2          78.     Plaintiff requests that this Court enjoin Defendant from continuing to employ the

 3   unlawful methods, acts and practices alleged herein pursuant to California Civil Code

 4   § 1780(a)(2). If Defendant is not restrained from engaging in these types of practices in the

 5   future, Plaintiff and the other members of the California Subclass will continue to suffer harm.

 6          79.     In May of 2022, Plaintiff provided Defendant with notice and demand that

 7   Defendant correct, repair, replace or otherwise rectify the unlawful, unfair, false and/or

 8   deceptive practices complained of herein. Despite receiving the aforementioned notice and

 9   demand, Defendant failed to do so in that, among other things, it failed to identify similarly

10   situated customers, notify them of their right to correction, repair, replacement or other remedy,

11   and/or to provide that remedy. Accordingly, Plaintiff seeks, pursuant to California Civil Code

12   § 1780(a)(3), on behalf of herself and those similarly situated class members, compensatory

13   damages, punitive damages and restitution of any ill-gotten gains due to Defendant’s acts and

14   practices.

15          80.     Plaintiff also requests that this Court award her costs and reasonable attorneys’

16   fees pursuant to California Civil Code § 1780(d).

17                           PLAINTIFF’S FIFTH CAUSE OF ACTION
              (False Advertising, Business and Professions Code § 17500, et seq. (“FAL”))
18                         On Behalf of Herself and the California Subclass
19          81.     Plaintiff realleges and incorporates by reference the paragraphs of this Class
20   Action Complaint as if set forth herein.
21          82.     Beginning at an exact date unknown to Plaintiff, but within one year preceding the
22   filing of the Class Action Complaint, Defendant made untrue, false, deceptive and/or misleading
23   statements in connection with the advertising and marketing of the Water Wipes.
24          83.     Defendant made representations and statements (by omission and commission)
25   that led reasonable consumers to believe that they were purchasing products that was “100%
26   biodegradable,” would biodegrade within 4 weeks, and would break down into elements found in
27   nature within a reasonably short period of time after customary disposal. Defendant deceptively
28   failed to inform Plaintiff, and those similarly situated, that Water Wipes do not break down into

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 1   elements found in nature within a reasonably short period of time after customary disposal.

 2          84.     Plaintiff and those similarly situated relied to their detriment on Defendant’s false,

 3   misleading and deceptive advertising and marketing practices. Had Plaintiff and those similarly

 4   situated been adequately informed and not intentionally deceived by Defendant, they would have

 5   acted differently by, without limitation, refraining from purchasing Water Wipes or paying less

 6   for them.

 7          85.     Defendant’s acts and omissions are likely to deceive the general public.

 8          86.     Defendant engaged in these false, misleading and deceptive advertising and

 9   marketing practices to increase its profits. Accordingly, Defendant has engaged in false

10   advertising, as defined and prohibited by section 17500, et seq. of the California Business and

11   Professions Code.

12          87.     The aforementioned practices, which Defendant has used, and continues to use, to

13   its significant financial gain, also constitute unlawful competition and provide an unlawful

14   advantage over Defendant’s competitors as well as injury to the general public.

15          88.     As a direct and proximate result of such actions, Plaintiff and the other members of

16   the California Subclass have suffered, and continue to suffer, injury in fact and have lost money

17   and/or property as a result of such false, deceptive and misleading advertising in an amount which

18   will be proven at trial, but which is in excess of the jurisdictional minimum of this Court. In

19   particular, Plaintiff and those similarly situated paid a price premium for the Water Wipes, i.e.,

20   the difference between the price consumers paid for the Water Wipes and the price that they

21   would have paid but for Defendant’s misrepresentation. This premium can be determined

22   by using econometric or statistical techniques such as hedonic regression or conjoint analysis.

23          89.     Plaintiff seeks equitable relief, including restitution, with respect to her FAL

24   claims. Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the following

25   allegations in this paragraph only hypothetically and as an alternative to any contrary allegations

26   in their other causes of action, in the event that such causes of action will not succeed. Plaintiff

27   and the Subclass may be unable to obtain monetary, declaratory and/or injunctive relief directly

28   under other causes of action and will lack an adequate remedy at law, if the Court requires them

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 1   to show classwide reliance and materiality beyond the objective reasonable consumer standard

 2   applied under the FAL, because Plaintiff may not be able to establish each Class member’s

 3   individualized understanding of Defendant’s misleading representations as described in this

 4   Complaint, but the FAL does not require individualize proof of deception or injury by absent

 5   class members. See, e.g., Ries v. Ariz. Bevs. USA LLC, 287 F.R.D. 523, 537 (N.D. Cal. 2012)

 6   (“restitutionary relief under the UCL and FAL ‘is available without individualized proof of

 7   deception, reliance, and injury.’”). In addition, Plaintiff and the Subclass may be unable to obtain

 8   such relief under other causes of action and will lack an adequate remedy at law, if Plaintiff is

 9   unable to demonstrate the requisite mens rea (intent, reckless, and/or negligence), because the

10   FAL imposes no such mens rea requirement and liability exists even if Defendant acted in good

11   faith.

12            90.   Plaintiff seeks, on behalf of herself and those similarly situated, a declaration that

13   the above-described practices constitute false, misleading and deceptive advertising.

14            91.   Plaintiff seeks, on behalf of herself and those similarly situated, an injunction to

15   prohibit the sale of the Water Wipes within a reasonable time after entry of judgment, unless

16   packaging and marketing is modified to remove misrepresentation and to disclose the omitted

17   facts. Such misconduct by Defendant, unless and until enjoined and restrained by order of this

18   Court, will continue to cause injury in fact to the general public and the loss of money and

19   property in that the Defendant will continue to violate the laws of California, unless specifically

20   ordered to comply with the same. This expectation of future violations will require current and

21   future consumers to repeatedly and continuously seek legal redress in order to recover monies

22   paid to Defendant to which it was not entitled. Plaintiff, those similarly situated and/or other

23   consumers have no other adequate remedy at law to ensure future compliance with the California

24   Business and Professions Code alleged to have been violated herein.

25                             PLAINTIFF’S SIXTH CAUSE OF ACTION
                (“Greenwashing” Under the Environmental Marketing Claims Act, Cal. Bus. &
26                                     Prof. Code § 17580, et seq.)
                             On Behalf of Herself and the California Subclass
27
              92.   Plaintiff realleges and incorporates by reference the paragraphs of this Class
28

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 1   Action Complaint as if set forth herein.

 2          93.     Defendant’s representations and omissions complained of herein constitute

 3   advertising that Water Wipes are not harmful to, or are beneficial to, the natural environment,

 4   through the use of such the phrases “100% Biodegradable” and “biodegrades within 4 weeks”

 5   which, among other things, convey that the Products are “environmental choice,” “ecologically

 6   friendly,” “earth friendly,” “environmentally friendly,” “ecologically sound,” “environmentally

 7   sound,” “environmentally safe,” “ecologically safe,” “environmentally lite,” or “green product.”

 8          94.     On information and belief, in violation of Cal. Bus. & Prof. Code §17580(a),

 9   Defendant has not maintained in written form in their records information and documentation

10   supporting the validity of the representations.

11          95.     Further, in violation of Cal. Bus. & Prof. Code §17580.5(a), Defendant’s

12   representations and omissions complained of herein constitute untruthful, deceptive, or

13   misleading environmental marketing claims, explicit or implied, including claims referenced in

14   the Green Guides published by the FTC.

15          96.     Plaintiff seeks, on behalf of herself and those similarly situated, a declaration that

16   the above-described practices are fraudulent and/or unlawful.

17          97.     Plaintiff seeks, on behalf of herself and those similarly situated, an injunction to

18   prohibit the sale of the Water Wipes within a reasonable time after entry of judgment, unless

19   packaging and marketing is modified to remove the misrepresentations and to disclose the

20   omitted facts. Such misconduct by Defendant, unless and until enjoined and restrained by order of

21   this Court, will continue to cause injury in fact to the general public and the loss of money and

22   property in that Defendant will continue to violate the laws of California, unless specifically

23   ordered to comply with the same. This expectation of future violations will require current and

24   future consumers to repeatedly and continuously seek legal redress in order to recover monies

25   paid to Defendant to which Defendant was not entitled. Plaintiff, those similarly situated and/or

26   other consumers nationwide have no other adequate remedy at law to ensure future compliance

27   with the California Business and Professions Code alleged to have been violated herein.

28

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                             PLAINTIFF’S SEVENTH CAUSE OF ACTION
 1                           (Unfair, Unlawful and Deceptive Trade Practices,
                              Business and Professions Code § 17200, et seq.)
 2
                             On Behalf of Plaintiff and the California Subclass
 3
            98.       Plaintiff realleges and incorporates by reference the paragraphs of this Class
 4
     Action Complaint as if set forth herein.
 5
            99.       Within four (4) years preceding the filing of this Class Action Complaint, and at
 6
 7   all times mentioned herein, Defendant has engaged, and continues to engage, in unfair, unlawful

 8   and deceptive trade practices in California by engaging in the unfair, deceptive and unlawful

 9   business practices outlined in this Class Action Complaint. In particular, Defendant has engaged,
10   and continues to engage, in unfair, unlawful and deceptive trade practices by, without limitation,
11
     the following:
12
                      a.     making an unqualified “100% Biodegradable” claim on the Product
13
     package and claiming that the wipes “biodegrade[] in 4 weeks;”
14
15                    b.     deceptively representing to Plaintiff, and those similarly situated, the Water

16   Wipes were “100% biodegradable” and that they would completely break down into elements
17   found in nature within a reasonably short amount of time (i.e., 4 weeks) after customary disposal;
18
                      c.     failing to inform Plaintiff, and those similarly situated, that the Water
19
     Wipes’ will not completely break down into elements found in nature within a reasonably short
20
     amount of time after customary disposal in trash cans;
21
22                    d.     violating the Federal Trade Commission Green Guides regulations,

23   including, without limitation, 16 C.F.R. sections 260.2, 260.3(b), 260.3(c), 260.8(c), and

24   260.8(d), as described herein;
25                    e.     violating the Environmental Marketing Claims Act, Cal. Bus. & Prof. Code
26
     § 17580, et seq., as described herein.
27
                      f.     violating the CLRA as described herein;
28

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                    g.     violating the FAL as described herein; and
 1
                    h.     engaging in fraud, deceit, and misrepresentation as described herein.
 2
 3          100.    Plaintiff and those similarly situated relied to their detriment on Defendant’s

 4   unfair, deceptive and unlawful business practices. Had Plaintiff and those similarly situated been
 5   adequately informed and not deceived by Defendant, they would have acted differently by not
 6
     purchasing (or paying less for) the Water Wipes.
 7
            101.    Defendant’s acts and omissions are likely to deceive the general public.
 8
            102.    Defendant engaged in these unfair practices to increase its profits. Accordingly,
 9
10   Defendant has engaged in unlawful trade practices, as defined and prohibited by section 17200, et

11   seq. of the California Business and Professions Code.

12          103.    The aforementioned practices, which Defendant has used to its significant
13   financial gain, also constitute unlawful competition and provide an unlawful advantage over
14
     Defendant’s competitors as well as injury to the general public.
15
            104.    As a direct and proximate result of such actions, Plaintiff and the other members of
16
     the California Subclass have suffered and continue to suffer injury in fact and have lost money
17
18   and/or property as a result of such deceptive and/or unlawful trade practices and unfair

19   competition in an amount which will be proven at trial, but which is in excess of the jurisdictional

20   minimum of this Court. In particular, Plaintiff and those similarly situated, paid a price premium
21   for the Water Wipes, i.e., the difference between the price consumers paid for the Water Wipes
22
     and the price that they would have paid but for Defendant’s misrepresentation. This premium can
23
     be determined by using econometric or statistical techniques such as hedonic regression or
24
     conjoint analysis.
25
26          105.    Plaintiff seeks, on behalf of herself and those similarly situated, equitable relief,

27   including restitution for the premium and/or the full price that she and others paid to Defendant
28   as result of Defendant’s conduct. Plaintiff and the Subclass lack an adequate remedy at law to
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     obtain such relief with respect to their “unfairness” claims in this UCL cause of action, because
 1
     there is no cause of action at law for “unfair” conduct. Plaintiff and the Class similarly lack an
 2
 3   adequate remedy at law to obtain such relief with respect to their “unlawfulness” claims in this

 4   UCL cause of action because the Federal laws and regulations referenced herein do not provide a
 5   direct cause of action, so Plaintiff and the Subclass must allege those violations as predicate acts
 6
     under the UCL to obtain relief.
 7
            106.    Plaintiff also seeks equitable relief, including restitution, with respect to her UCL
 8
     unlawfulness claims for violations of the CLRA, FAL and her UCL “fraudulent” claims.
 9
10   Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the following allegations in

11   this paragraph only hypothetically and as an alternative to any contrary allegations in their other

12   causes of action, in the event that such causes of action do not succeed. Plaintiff and the Subclass
13   may be unable to obtain monetary, declaratory and/or injunctive relief directly under other
14
     causes of action and will lack an adequate remedy of law, if the Court requires them to show
15
     classwide reliance and materiality beyond the objective reasonable consumer standard applied
16
     under the UCL, because Plaintiff may not be able to establish each Subclass member’s
17
18   individualized understanding of Defendant’s misleading representations as described in this

19   Complaint, but the UCL does not require individualized proof of deception or injury by absent

20   class members. See, e.g., Stearns v Ticketmaster, 655 F.3d 1013, 1020, 1023-25 (distinguishing,
21   for purposes of CLRA claim, among class members for whom website representations may have
22
     been materially deficient, but requiring certification of UCL claim for entire class). In addition,
23
     Plaintiff and the Subclass may be unable to obtain such relief under other causes of action and
24
     will lack an adequate remedy at law, if Plaintiff is unable to demonstrate the requisite mens rea
25
26   (intent, reckless, and/or negligence), because the UCL imposes no such mens rea requirement

27   and liability exists even if Defendant acted in good faith.
28          107.    Plaintiff seeks, on behalf of herself and those similarly situated, a declaration that
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     the above-described trade practices are fraudulent and/or unlawful.
 1
            108.    Plaintiff seeks, on behalf of herself and those similarly situated, an injunction to
 2
 3   prohibit the sale of the Water Wipes within a reasonable time after entry of judgment, unless

 4   packaging and marketing is modified to remove the misrepresentations and to disclose the
 5   omitted facts. Such misconduct by Defendant, unless and until enjoined and restrained by order of
 6
     this Court, will continue to cause injury in fact to the general public and the loss of money and
 7
     property in that Defendant will continue to violate the laws of California, unless specifically
 8
     ordered to comply with the same. This expectation of future violations will require current and
 9
10   future consumers to repeatedly and continuously seek legal redress in order to recover monies

11   paid to Defendant to which it was not entitled. Plaintiff, those similarly situated and/or other

12   consumers have no other adequate remedy at law to ensure future compliance with the California
13   Business and Professions Code alleged to have been violated herein.
14
                                          PRAYER FOR RELIEF
15
            WHEREFORE, Plaintiff prays for judgment against Defendant and in favor of Plaintiff
16
     and the other members of the Classes, on all causes of action, as follows:
17
            1.      Declaring that Defendant’s use of the phrases “100% biodegradable” and
18
     “biodegrades with [ ] weeks” on the Water Wipes is unlawful and likely to deceive reasonable
19
     consumers;
20
            2.      Enjoining Defendant, directly or through any corporation, partnership, subsidiary,
21
     division, trade name, or other device, in connection with the manufacturing, labeling, packaging,
22
     advertising, promotion, offering for sale, sale, or distribution of any wipe from making the
23
     following claims:
24
            a.      biodegradable;
25
            b.      100% biodegradable;
26
            c.      will break down after disposal; or
27
            d.      biodegrades in [ ] weeks
28

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 1   unless the representation(s) is non-misleading, and, at the time the representation is made,

 2   Defendant possesses and relies upon competent and reliable evidence, that, when considered in

 3   light of the entire body of relevant and reliable evidence, is sufficient in quantity and quality

 4   based on standards generally accepted in the relevant fields to substantiate that the representation

 5   is true. For the purposes of this paragraph, “competent and reliable evidence” means tests,

 6   analyses, research, studies, or other evidence based on the expertise of professionals in the

 7   relevant area, that have been conducted and evaluated in an objective manner by qualified

 8   persons, using procedures generally accepted in the profession to yield accurate and reliable

 9   results. Specifically, any tests, analyses, research, studies, or other evidence purporting to

10   substantiate any of the above representations must at least:

11                  a.      demonstrate that the product biodegrades in a sufficiently short amount of

12          time after customary disposal in landfills; and

13                  b.      substantially replicate, i.e., simulate, the physical conditions found in the

14          type of disposal facility or method in which the product is claimed, directly or indirectly,

15          expressly or by implication, to be properly disposed of; or, if no specific environment is

16          claimed, then in all environments in which the product will likely be disposed of.

17          5.      Enjoining Defendant, directly or through any corporation, partnership, subsidiary,

18   division, or other device, in connection with the manufacturing, labeling, packaging, advertising,

19   promotion, offering for sale, sale, or distribution of any wipe to not provide to others the means

20   and instrumentalities with which to make any representation prohibited by the above. For the

21   purposes of this paragraph, “means and instrumentalities” means any information, including, but

22   not necessarily limited to, any advertising, labeling, or promotional, sales training, or purported

23   substantiation materials, for use by trade customers in their marketing of such product or service.

24                                      JURY TRIAL DEMANDED

25          Plaintiff hereby demands a trial by jury.

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                                            Class Action Complaint
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 1      Dated: October 28, 2022
 2                                      GUTRIDE SAFIER LLP
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 6                                      _______________________
                                        Seth A. Safier, Esq.
 7                                      Marie McCrary, Esq.
                                        100 Pine Street, Suite 1250
 8                                      San Francisco, California 94111
 9                                      Attorneys for Plaintiff
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                                  Class Action Complaint
          Case 3:22-cv-06659-LB Document 1 Filed 10/28/22 Page 30 of 30



 1
 2         I, Maria Elena Lopez, declare:

 3         1.     I am a Plaintiff in this action. If called upon to testify, I could and would

 4 competently testify to the matters contained herein based upon my personal knowledge.
 5         2.     I submit this Declaration pursuant to California Code of Civil Procedure section

 6 2215.5 and California Civil Code section 1780(d).
 7         3.     I reside in Antioch, California. In or around September 2022, I purchased Water

 8 Wipes baby wipes from Walmart in Antioch, California.

 9         I declare under penalty of perjury under the laws of California that the foregoing is true

10 and correct.
11         Executed this 27th day of October 2022, in Antioch, California.

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14                                                       __________________________
                                                         Maria Elena Lopez
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                    DECLARATION RE CAL. CIV. CODE SECTION 1780(D) JURISDICTION
